Case 1:16-cr-20897-PAS Document 163 Entered on FLSD Docket 10/01/2019 Page 1 of 13



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 16 -20897-CR-SEITZ




   UNITED STATES OF AMERICA

                  v.

   PRINCESS CRUISE LINES, LTD.,

                        Defendant.
   ________________________________/




                              GOVERNMENT’S STATUS REPORT

          The United States, by and through undersigned counsel, respectfully submits this status

   report in anticipation of the Court’s hearing scheduled for October 2, 2019, and addresses those

   items specified in this Honorable Court’s Order related thereto [D.E.157].

   I.     The Quarterly Report of the Court Appointed Monitor (September 2019)

          The CAM report continues the tradition of identifying areas in which improved

   performance and concerted effort to abide by and implement the ECP have occurred over the

   covered time period. The CAM sounds cautionary notes in light of persistent significant violations

   of ECP requirements, and continuing concerns of the “tone at the top” and regular ECP violations.

          In reviewing the Second Quarterly Report of the CAM, the government is again struck by

   the helpful contribution of the CAM to the Court, the Office of Probation, the government, and the

   defendant.
Case 1:16-cr-20897-PAS Document 163 Entered on FLSD Docket 10/01/2019 Page 2 of 13



   II.    Metrics

          At the July 19, 2019 Status Hearing, the Court directed the United States to supply the

   Company with its suggestions of areas of compliance that might be amenable to the establishment

   of fixed metrics to allow a more objective analysis and measurement of the Company’s

   performance under the ECP. On July 24, 2019, the United States provided the company with

   proposed areas where it was believed that newly established or additional metrics would be helpful.

   The United States also identified subject areas in which additional information was needed in order

   to establish a benchmark. Carnival only responded on September 25, 2019. As set forth below,

   some of its responses are incomplete or unacceptable. Given the belated response, more work

   needs to be done by Carnival in the next 30 days to enable the government to meet the Court’s

   directive to identify appropriate metrics.

          The government’s suggestions and requests, and the Company’s responses, received on

   September 25, 2019 included:

           Government request re food waste reduction. Please provide the volume of food waste

   generated, discharged overboard, landed per brand, per covered ship, and per day/month in 2018,

   and propose metrics along with the food waste implementation plan required under the Probation

   Revocation Settlement Agreement. Additionally, please provide a deadline for assessing staffing

   levels for operation and compliance of food waste management required pursuant to the

   Agreement. Provide data and analysis of Costa “4 Good Food” program, including what would be

   necessary for all brands and ships to meet Costa’s proposed 50% reduction in food waste by 2020.


         1. Carnival Response. The Company noted that it has been providing food waste disposal
            data pursuant to the ECP on a quarterly basis, with waste being reported by volume in
            cubic meters. It was further advised that reporting will be adjusted to weight instead of
            volume as a result of acquisition of new digester equipment. The staffing level issue is
            apparently under Assessment by contract with Lloyd’s Register with a final report not

                                                    2
Case 1:16-cr-20897-PAS Document 163 Entered on FLSD Docket 10/01/2019 Page 3 of 13



         expected until approximately April 2020. The Company indicated its commitment to the
         10% reduction in food waste by December 31, 2021 already set forth in the Settlement
         Agreement and suggested brands other than Costa face obstacles to achieving the 50%
         reduction goal being pursued by Costa.

         Government’s Reply. Carnival did not provide in its response the requested
         information required in order to establish meaningful metrics. The government reiterates
         its request for information showing the volume of food waste generated, discharged
         overboard, landed per brand, per covered ship, and per day/month in 2018. The response
         appears to indicate that the best that Carnival hopes for is a 10 % reduction of food waste
         by December 31, 2021. The government reiterates its request for metrics and a proposed
         implementation plan to achieve this goal. Without further explanation, the April 2020
         date for a final report from Lloyd’s Register is unacceptable. We ask that Carnival
         provide a written response and that the CAM and TPA review the contract and schedule.

      2. Government request re single use plastic reduction/elimination. Please provide the
         quantity, type, number and volume of single use plastic products being purchased per
         brand, per covered ship, in 2018, to include the total number of water bottles, plastic
         cups, plastic straws, plastic bags, plastic food containers (including butter, jam, yogurt)
         purchased.

         Carnival Response. The Company provided aggregated data for purchases in 2018,
         which it intends to use as a baseline and advised it will provide such data annually
         after the conclusion of each fiscal year. Plastic gloves and plastic bottles were
         excluded from the data.

         Government’s Reply. Carnival’s summary did not provide the information
         requested, especially the level of detail requested. This level of detail is necessary in
         order to confirm the summary information provided and to establish meaningful
         metrics that can be assessed going forward, and to identify positive and negative
         trends within such a large corporation. Given the massive volume of single use plastics
         and the high number of violations involving the overboard discharge of plastics, the
         government does not agree with the approach that data will be provided on only an
         annual basis. This response seems oriented toward running out the clock rather than
         striving to make progress. Accordingly, the government renews its request for the
         information requested on July 24, 2019.

         Here is the summary table Carnival provided:




                                                   3
Case 1:16-cr-20897-PAS Document 163 Entered on FLSD Docket 10/01/2019 Page 4 of 13




         Letter from D. Kelley to R. Udell (September 25, 2019 (footnote omitted).

         Carnival’s report that in FY 2018, it purchased 67 million plastic straws, 16 million
         plastic hot/cold cups, and 15 million plastic cup lids is unsupported and not the level
         of detail that was proposed. A meaningful monitoring system would look at the single
         use plastic items in use on each ship and articulate a specific reduction goal by
         stages/vessels. Carnival has provided no information as to how and when it will reduce
         each of the categories per operating line.

         The government has several additional concerns of significance.

         First, the government assumes that single use plastic water bottles comprise the largest
         single use plastic item on board Carnival vessels. Carnival’s assertion that it need not
         provide data concerning the number of plastic water bottles purchased because the
         majority are recycled is just that – an unverified assertion. The whole point of metrics
         is to measure and verify so that measurable and certain progress is made. Knowing
         the total volume of plastic water bottles purchased and recycled per ship per year is
         needed to determine whether Carnival’s assertion is well founded, and even so,
         whether the volume of non-recycled bottles is nevertheless so astronomical, that
         Carnival should be looking at other solutions given the nature of its business rather
         than responding – without any metrics – that there is no problem, and by implication,
         no alternative.
                                                 4
Case 1:16-cr-20897-PAS Document 163 Entered on FLSD Docket 10/01/2019 Page 5 of 13




         Additionally, as noted in the government’s last status report and below, there remains
         a very real issue about whether Carnival has any assurance that its vendors are actually
         performing recycling or appropriate waste disposal. Carnival dodged this question in
         its response to both this question and question #3. It does not appear from the response
         that Carnival is giving any thought whatsoever to reducing or eliminating what is no
         doubt the most significant volume of single use plastic on board its ships.

         The Second Annual Report of the Third Party Auditor noted a significant issue with
         regard to the vetting of waste vendors. While Carnival Corporation’s published
         Sustainability Report states “that shore-side waste facilities are evaluated prior to
         offloading the waste from the ships,” the TPA was unable to find any supporting
         evidence for this claim. To the contrary, employees interviewed by the TPA stated
         that in actuality, they have no option to select or vet waste vendors in some countries.
         It is not known what if anything Carnival has done to remedy this situation. Along the
         same lines, Carnival’s procedures (Global Hess procedure ENV-1004) includes a
         program to assess the waste vendors that ships use to discharge waste ashore.
         However, according to the TPA’s Second Annual Report, shore-side waste facilities
         are not being identified and a systematic process for their evaluation had not been
         implemented. At the Carnival brand level, vendor evaluations have been sighted by
         the TPA during audits. When asked how these evaluations are completed, the response
         from Carnival brands was that an e-mail was sent with a copy of a checklist to the
         vendor for the vendor to fill out. Carnival claims that it evaluates the documentation
         to ascertain and validate vendor suitability for receiving waste. However, the TPA
         found that there was little evidence that in-person interviews or visits with vendors
         were actually taking place in coordination with the purported evaluations. See TPA
         Second Annual Report at 21. The TPA Second Annual Report identified shoreside
         waste management vendors as a focus area for the coming year.

         Carnival’s oft repeated mantra that “we aspire to make every place we go even better
         than it was before we went there” is worth citing in this context. As noted in the CAM
         Second Annual Report, this statement, uttered frequently, including in the context of
         the probation revocation and in the company’s latest sustainability report, contains an
         unresolved comparative – better in what ways, and by what measure? The CAM report
         suggested that Carnival did not have metrics to measure baseline environmental
         conditions and the impact of the Company’s activities on those conditions. That was
         the impetus for the government’s proposal that Carnival should propose appropriate
         metrics.

         Establishing a program to ensure that its massive waste disposal in various ports are
         being appropriately handled and not, for example, being dumped into the marine
         environment, is one important way that Carnival can give substance to its slogan. If it

                                                 5
Case 1:16-cr-20897-PAS Document 163 Entered on FLSD Docket 10/01/2019 Page 6 of 13




         does not do this promptly and in a meaningful way, then it would be fraudulent to
         continue to advertise itself with an empty slogan.

      1. Government request re shoreside disposal of plastic. Provide metrics per brand and
         per covered ship regarding the volume/weight of plastic waste disposed ashore in 2018.
         Determine method by which the Company will qualify approved vendors in each port
         where waste containing plastic is recycled/disposed to ensure proper waste handling.

         Carnival Response. The Company does not separately measure plastic disposed ashore.
         Aggregate amounts of recycled and non-recycled materials disposed of ashore are
         available through of the Company’s Sustainability Report for each Covered Vessel.
         Because the Company views the qualification of shore-side vendors as a policy issue it
         declined to address this subject as a metrics issue.

         Government’s Reply. In order to be a good environmental steward, and especially with
         a corporation as large as Carnival, a corporation needs to know how much waste it
         generates, what kinds, and how it will be appropriately disposed. Not knowing means
         not caring. Not knowing means no ability to reduce, consider alternatives, establish
         metrics or monitor progress. As highlighted in the government’s last status report and
         comments at the last hearing, Carnival apparently has no knowledge – and is apparently
         seeking to remain willfully blind – regarding what happens with the waste it lands
         ashore. Many of the places visited by Carnival’s vessels have minimal infrastructure
         or capability to recycle or dispose of the waste landed ashore. What the government is
         proposing is that Carnival make a point of learning whether the waste it lands ashore is
         processed in that country, transported to some other location, or tossed in the ocean. Such
         cradle to grave or “lifecycle” management programs are not novel, but they are part of
         responsible corporate governance.

      2. Government request re Passenger related incidents. In view of the number of
         passenger related incidents involving overboard discharge of plastic, consider passenger
         related initiatives and possible metrics for the development of policies to reduce
         violations due to passenger actions.

         Carnival Response. The Company reports that based on current tracking, incidents of
         all-item discharges involving passengers are one event per 130,000 passenger days.
         Incidents involving non-food items and plastic items are smaller sub-sets of that rate.
         Plastics are not separately tracked. The Company proposes to continue its current
         tracking program and report the results quarterly.

      3. Government request re Investigations. Benchmarks and deadlines for finalizing
         investigative structure, investigative procedures, designating investigative levels,
         assigning/tasking of matters to be investigated, formalizing root cause analysis

                                                  6
Case 1:16-cr-20897-PAS Document 163 Entered on FLSD Docket 10/01/2019 Page 7 of 13



         methodology, and implementing SeaEvent. The United States notes that this Court’s
         Order, D.E.-157 at 1.d.i-vii, addresses many specifics with respect to this issue and
         require the Company to discuss these matters at the up-coming hearing.

         Carnival Response. The Company referenced its report to the Court on September 13,
         2019 discussing the strengthening of HESS-related investigations in the action plan to
         restructure its existing corporate compliance authority and expressed its commitment to
         meet the requirements of the April 26, 2019 Settlement Agreement. A chart reflecting
         the status of SeaEvent Rollout, through September 2, 2019 was included in the response.
         SeaEvent is discussed further under item # 10, infra.

      4. Government request re Pollution Prevention Equipment. Provide out of service
         metrics for each type of pollution prevention equipment per brand during 2018, and
         propose methods and metrics for reduction per brand.

         Carnival Response. In its response, the Company states that it “does not have an
         automated process to determine whether a piece of pollution prevention equipment is
         functioning on any particular day.”

         Government’s Reply. The Company did not provide the requested information, which
         was limited to pollution prevention equipment, or explain why it did not. Simply
         asserting that there is no automated process is not a complete answer. Could such a
         process be developed or implemented? Would that be helpful to ensuring environmental
         compliance? How much time would it take to develop this capacity?

         Carnival’s response offered to provide reports on pollution prevention equipment going
         forward on a quarterly basis, but provided none of the requested historical data from
         which metrics might be developed. This would result in substantial delay in establishing
         metrics. Certain data was provided only for the month of August 2019. The United States
         continues to seek the more relevant historic data from 2018, which we understand
         Carnival collected and possesses, though apparently not through an automated process.

      5. Government request re Grey Water generation and discharge. Review and provide
         metrics regarding grey water generation and overboard discharge during 2018, and
         propose methods and metrics for reduction.

         Carnival Response. The Company’s response was to note that grey water discharge
         data is already being provided quarterly, but provided but ignored the request for
         suggestions and proposed metrics for a reduction in that waste stream.

         Government’s Reply. Carnival’s response and failure to make a proposal as to how to
         reduce this waste stream is concerning. Given the role of gray water in the underlying
         case as well as subsequent discharges, the government reiterates this request and seeks

                                                7
Case 1:16-cr-20897-PAS Document 163 Entered on FLSD Docket 10/01/2019 Page 8 of 13



         a proposal within the next 30 days. To the extent that the data sought is being
         maintained quarterly, the government seeks Carnival’s assistance in compiling this data
         in a more meaningful way and proposing metrics for reduction.

      6. Government request re Spare parts. Delivery of spare parts and sailing days in
         operation without minimum spare parts.

         Carnival Response. The Company stated that it does not have an automated process for
         detecting on any particular day the total number of critical spare parts not on board a
         particular ship. Carnival provided the government with a single page report for the month
         of August 2019 reflecting ten vessels with a shortage of critical spare parts that month that
         exceeded 2%, five of which were covered vessels. The report also indicated that 68
         additional unidentified covered vessels had a critical parts deficiency that month ranging
         from 0% to 2%. The report also included the history of covered and non-covered vessels
         for the past 6 months with shortages at or exceeding 2%. The company has offered to
         provide on a quarterly basis the results of those monthly surveys.

         Government’s Reply. Simply asserting that there is no automated process is not a helpful
         answer. Could such a process be developed or implemented? Would that be of value to
         the company? How much time would it take to do so? The single page report (Appendix
         C) that the Company provides appears to be taken from the monthly CMO HESS
         Dashboard.

         The single page report has a number of short comings, including: it does not cover the
         entire period of probation; it does not indicate what parts are missing and what are the
         associated pieces of equipment; it does not indicate how long parts have been missing (an
         important issue in the underlying case leading to conviction); it does not indicate whether
         and to what extent there are repeated instances or trends on certain ships or brands and
         whether Carnival has the ability to identify and evaluate chronic or repeated issues. Given
         the role that unavailable pollution prevention equipment played in the case leading to
         conviction, it would appear very important for Carnival’s management to be able to
         readily determine persistent issues with certain parts on ships or brands


      9. Government request re TPA Audit Findings. Time to commence
         corrective/preventative action; days to complete corrective/preventative action; and time
         to respond to TPA annual report.


         Carnival Response. The Company appears to have focused on the number of audits, the
         number of findings, and the number of major non-conformities by brand and year rather
         than on the gravamen of the government’s request, which intended the focus be on the
         commencement of corrective or preventative action upon notification of an audit finding.
         The Company does track and did provide in tabular form information showing the time
         to close out findings track and dings, broken down amongst four brands, for the first two
         years of Probation. In an unfortunate trend-line, for three of the four brands the close-

                                                  8
Case 1:16-cr-20897-PAS Document 163 Entered on FLSD Docket 10/01/2019 Page 9 of 13



             out period increased in year two, while the fourth brand close-out time was static. With
             regard to response periods for the TPA Annual Report, the Company noted the ECP, as
             written, provides a sixty-day period. IN Year 1 the Company utilized 59 of the 60 days,
             while in Year 2, at the request of the government that period was reduced to 11 days
             from receipt of the Report. No suggestion for a reduction of the sixty-day period has
             been offered.


             Government’s Reply. In the absence of a proposal by the defendant to identify and track
             these metrics, the government proposes that the Court ask the CAM and TPA for
             recommendations.

          10. Government request re Internal Initiatives and Tracking: SeaEvent; GLADIS; E-Key
              Management; HESS Environmental Procedure.

              Carnival Response. The Company advised that it currently lacks any metrics for
              tracking HESS Environmental procedures and offered no ideas or suggestions
              regarding developing such metrics. SeaEvent, a replacement under development to be
              used across brands for event reporting and other purposes as noted, supra, was
              addressed through a chart reflecting the roll out status, through September 2, 2019. The
              Company further advised that system rollout is expected to be complete by November
              30, 2019. The Company reports that the GLADIS learning management system is now
              aboard all Company vessels and HESS courses are being loaded into the system.
              Carnival anticipates that all brands will be able to use most HESS courses by November
              30, 2019. E-Key implementation, to reduce the use of physical seals in favor of
              electronic keys on board Company vessels is reported to range from 57% to 87%,
              depending on brand, as of August 2019, with a full implementation by January 1, 2020.
              The implementation goal is the reduction of actual seals on any single vessel to less
              than one hundred.

              Government’s Reply. The government proposes that Carnival submit a
              recommendation to the Interested Parties, CAM and TPA within the next 30 days. The
              IPs, CAM, and TPA would then have 14 days to provide comment. Carnival would be
              accorded an additional 14 days thereafter within which to submit a final plan to the
              Court.

   III.     Condition 13

            As part of the recent settlement of probation violations, the Court imposed new reporting

   requirements to insure that significant violations of probation were in fact being reported to the

   Office of Probation and/or the United States. Exhibit B of the settlement agreement [D.E.-134],


                                                     9
Case 1:16-cr-20897-PAS Document 163 Entered on FLSD Docket 10/01/2019 Page 10 of 13



   required notification in the following categories:

          The defendant organization is to inform the Interested Parties, CAM, and TPA of any:

                  i)      breach of the ECP;

                  ii)     breach of the plea agreement;

                  iii)    violation of the conditions of probation;

                  iv)     violation of any Marine Environmental Protection Requirement;

                  v)      violation of any applicable United States (federal or state) environmental
                          law;

                  vi)     violation of the Ballast Water Convention, the London Dumping
                          Convention, or any future maritime environmental law convention to which
                          the United States becomes a party and which goes into effect during the
                          period of Princess’s probation; or

                  vii)    credible allegations, to include any Environmental Open Reports, involving
                          a violation of the ECP or any Marine Environmental Protection
                          Requirement or applicable international, flag state, port state, coastal state,
                          or United States (federal, state or local) environmental law involving any
                          Covered Vessel or Covered Personnel (as defined in the ECP) as soon as
                          reasonably practicable but no later than seven days of when the defendant
                          organization learns of the occurrence. The notification shall include a
                          description of the nature, date and time, and location, including the country,
                          of the breach of compliance or violation.

          As discussed with the Court and Parties at the last Quarterly Status Hearing, the Company

   began providing notices, on essentially a daily basis, of incidents that the government found to be

   of limited relevance or in fact unreportable under the articulated standards. Through the collective

   discussion and the decisions of this Honorable Court, it was determined that “near miss” events

   which did not rise to the level of a violation, and those incidents involving passenger activities

   independent of vessel crew or equipment, should not be reported through the new system.

          As a result of the refinements directed by the Court, the Company’s reporting process under

   the Settlement Agreement has reduced some extraneous reporting. The Special Condition 13

   reports, still being received on almost a daily basis, now rarely exceed two pages and more


                                                    10
Case 1:16-cr-20897-PAS Document 163 Entered on FLSD Docket 10/01/2019 Page 11 of 13



   obviously reflect cognizable events.

          The United States is continuing its evaluation of the reports being received, and will, if

   appropriate, discuss further refinements with the Company as they manifest themselves.

   IV.    Electronic Record Books

          A significant issue the United States wishes to highlight for the Court concerns the

   extended and knowing violation of law that occurred with the full knowledge of the Company with

   respect to covered vessels operating in Alaskan waters. As a result of the illegal discharge of gray

   water into Glacier National Park by Holland America’s Westerdam on September 11, 2018, the

   United States learned that Carnival vessels had been operating in violation of the Certain Alaskan

   Cruise Ships Operation Act (CACSO), 33 U.S.C. 1901 (Note). Carnival cruise ships operating in

   Alaska had been utilizing an electronic sewage and gray water record keeping system that did not

   meet the requirements of CACSO and its accompanying regulations in 33 CFR 159.315, for

   maintaining a hard copy sewage and graywater discharge record book. Carnival ships appear to

   have utilized the software to create an electronic-only discharge record book for many years,

   despite the requirements to maintain a book of entries signed and dated by both the person

   responsible for the discharge and the master in 33 CFR 159.315 (e).

          This issue was brought to Carnival’s attention in the government’s filing in April 2019,

   and also discussed at the Court’s status hearing on April 10, 2019. As pointed out in the

   government’s April filing, the electronic log being used aboard the Westerdam at the time of the

   illegal discharge last September failed to include certain required information, in addition to not

   being a hard copy record. The government noted that a knowing violation of CACSO is a felony

   offense. See CACSO, Sec. 1409(d)(2).




                                                   11
Case 1:16-cr-20897-PAS Document 163 Entered on FLSD Docket 10/01/2019 Page 12 of 13



          This, combined with Carnival’s failure to immediately report the Westerdam discharge to

   the Coast Guard as required by CACSO, revealed that Carnival had failed to comply with this

   legislation. The violation by the Westerdam was unfortunately not unique, but apparently common

   to all brands operating in Alaska. Of principle concern is that this longstanding violation continued

   after the government brought this to the defendant’s attention in April 2019, and even after the

   Court conducted the Probation Revocation hearing on June 3, 2019.

          On August 8, 2019, Holland America Group issued a directive to all vessels to print the

   daily log of the electronic record book for the master’s signature and maintain a hard copy book

   of printed and signed pages. However, this remedy does not appear acceptable and still leaves

   significant questions about the company’s present compliance with the law. The PDF version of

   the log being printed out is in chronological order, free from edits, and digitally signed by the

   person logged into the system at the time, which may or may not be not be the person actually

   responsible for the discharge. Where a traditional hardcopy log has clearly marked edits, the

   printed pages of the Holland America log appear to be a rubber-stamped and finalized version that

   has been edited without notation. Additionally, there are “free text” entries that do not appear to

   report all required information and an explanation of circumstances required for accidental or

   significant discharges. 33 CFR 159.315(c)-(d). The printed copy of the electronic log reflects only

   the final version of an entry, at the time it is printed. The “clean” and finalized PDF version of this

   record book understandably gives a viewer reason to believe that one can edit and change entries

   in the program without oversight, unlike the paper version of a record book where those edits are

   visible on the page. Additionally, the printed version presented to the captain for signature is the




                                                     12
Case 1:16-cr-20897-PAS Document 163 Entered on FLSD Docket 10/01/2019 Page 13 of 13



    same “clean” version of the record book.


                                        Respectfully submitted,


                                        ARIANA FAJARDO ORSHAN
                                        UNITED STATES ATTORNEY


                                        By:     /s/ Thomas A. Watts-FitzGerald
                                               Assistant United States Attorney
                                               Florida Bar No. 0273538
                                               99 Northeast 4th Street
                                               Miami, Florida 33132-2111
                                               Tel: (305) 961-9413

                                               /s/ Richard A. Udell
                                               Senior Litigation Counsel
                                               Environmental Crime Section
                                               U.S. Department of Justice
                                               601 D. Street, NW
                                               Washington, DC 20004
                                               Tel: (202) 305-0361



                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on October            1   , 2019, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF.

                                               s/ Thomas A. Watts-FitzGerald
                                               Assistant United States Attorney




                                                 13
